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12‐08002‐Brian S. Shrontz
         Randall K. Dekilder and Holly M. 
12‐09193‐
         Dekilder

         Mark E Zwolensky and Simone A 
12‐09430‐
         Zwolensky

12‐09550‐James Darrell Casey

12‐09729‐Scott Evans and Sandra Evans
         Duayne R. LeClear and Lisa K. 
12‐09939‐
         LeClear
12‐10819‐Mandy A. Trevino
         Mark Patterson and Robin 
12‐11027‐
         Patterson

12‐11038‐James R. Hensley, Jr.

         Robert Madden, Jr. and Melanie 
13‐00131‐
         Madden
13‐00768‐Robin Raychell Sorrells
         Kyle J Daleiden and Sarah E 
13‐01196‐
         Daleiden
         Richard L Buttleman and Karen S 
13‐01424‐
         Buttleman
13‐02381‐Gary L Mazur
         Dennis Lee Hindman, Jr. and 
13‐03252‐
         Dawn Marie Hindman
         John Daniel Mills and Cheryl 
13‐05185‐
         Gillum Mills
13‐05680‐Stephen Dyer Hurrell (deceased)
         Michael James Jensen and Kelly 
13‐06422‐
         Ann Jensen
13‐06810‐Dawn M Atkins
13‐07136‐James P. Mucci
         Justin P Shafer and Nacole I 
13‐09446‐
         Shafer
13‐09539‐John Joseph Falicki, Sr.
         James Arthur Hardy and Nancy 
14‐00134‐
         Ann Hardy
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         Joseph G. McGregor and Kelli A 
14‐00173‐
         McGregor
14‐00423‐Yvonne Marie Hawley
         Michael Lee Holt and Chandra 
14‐00455‐
         Kay Holt
         Bradley Johnson and Cheryl 
14‐01720‐
         Holbrook‐Johnson
14‐02260‐Dianette Hight
14‐02818‐Bounlieng Nobouphasavanh
14‐03017‐Robert A. Johnson
14‐03975‐Sheila Michelle Peterson‐LaBelle
14‐04196‐Matthew S Mackenzie
         Riccardo L. Rasberry and Renee 
14‐04842‐
         M Rasberry
         Earl Lavern Mason, III and 
14‐04919‐
         Annabelle Latonio Mason
14‐05796‐Jill Erica Roberts
14‐06136‐Holly K. Brooks
14‐07259‐Robert L Shepard
14‐07896‐Lindsey Daniel Shelden
15‐00061‐Robert Jay Small
         Donald James Andy Toddy and 
15‐00088‐
         Karen Sue Hensley‐Toddy
15‐00241‐Mitchell Scott Hiler
         Michael W Beeson and Julie A 
15‐01160‐
         Beeson
15‐01300‐Tonisha M. Herrera
15‐01424‐Alyssa Ann Smith
15‐01666‐Scott William Moore
15‐01691‐Jimmie L Grey
         Steve D. Basch and Linda M. 
15‐01715‐
         Basch
         Richard Frank Watkeys and Sally 
15‐01737‐
         Ann Watkeys
         John K. Montgomery and Kim M. 
15‐01754‐
         Montgomery
15‐01923‐Jack A Kruis and Debra K Kruis
15‐02006‐LaShawn Sherrel McGee
15‐02100‐Daryl Kenneth Wilde
15‐02150‐Chandler L. Cheeks
         Ricky Woods and Marjorie 
15‐02154‐
         Woods
15‐02568‐Melissa Swan
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         Jeremy A. Gifford and Kristen E. 
15‐02688‐
         Gifford
15‐02710‐Marsha A Bursley
         Nathan J. Hancock and Michelle 
15‐02730‐
         L. Hancock
15‐02887‐Rex Cannon
         Matthew Douglas Dameron and 
15‐03392‐
         Tammy Jo Dameron
15‐03569‐Chad Bruining
         Albert L Kelley and Barbara A 
15‐03642‐
         Kelley
15‐03790‐Jacquelyn A Devereaux
15‐03802‐Chad D. Greenfield
         Jerry‐Juan Yadao Ilar and Maria 
15‐03825‐
         Pacita Ilar
15‐03976‐Daniel R. Deugaw
15‐04132‐Phillip J. Ferrise
         Ricky R. Antisdel and Amy M. 
15‐04146‐
         Antisdel
15‐04636‐Thad M Zale and Deborah J Zale
         Maureen Lynn Trick and Roger 
15‐04694‐
         Gordon Trick
15‐04725‐Steven Michael Sacha
15‐04784‐Holly Louise Wicker
15‐04827‐Norman W. Bender
15‐04830‐Lynda Jean Cierlak
15‐04944‐Brian D. Beduhn
         Derrick Ebidon and Cheryl A. 
15‐05103‐
         Ebidon
15‐05316‐Aaron Hinten and Julie Hinten
15‐05679‐Jack Dice
15‐05749‐Heidi C Organek
15‐05820‐Jack Raymond Mangala
         Jason C. Kemler and Jennifer Lyn 
15‐05932‐
         Kemler
15‐06070‐Linda Kay Moore
         Anthony Kirkland and Virgie 
15‐06132‐
         Kirkland
15‐06156‐Amanda Marie Murphy
15‐06374‐Dennis Michael O'Brien
15‐06491‐Robert Fales and Lisa K. Fales
         Dale Brent Hayward, Sr. and 
15‐06511‐
         Karla DeAnn Hayward
15‐06761‐Don L. Keskey
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15‐06784‐Charles O. Sims and Terri S. Sims
         Curtis J. Archambeau and 
15‐90175‐
         Kathleen A. Archambeau
15‐90178‐Larry William Milligan
         Robert A Gann and Melissa J 
16‐00034‐
         Gann
16‐00039‐Constance Marie Shaw
16‐00332‐Nicole Lyn Potter
16‐00372‐Alice Nancy Thelen
16‐00395‐Thomas E. Christiansen
16‐00541‐Fred D. Larthridge
         Matthew D. Northuis and Kelly 
16‐00620‐
         M. Northuis
         Kevin Guy Rouse and Sheryl 
16‐00844‐
         Irene Rouse
16‐00856‐Cynthia J Dunham
16‐01014‐Sandra Kay Christiansen
         Nathan A Fletcher and Patti J 
16‐01877‐
         Fletcher
16‐02484‐Dustin M. Coleman
         Geoffrey E. Bruce and Dawn E. 
16‐02550‐
         Bruce
         Matthew Ryan Torian and 
16‐02658‐
         Elizabeth Elaine Torian
16‐02784‐LuAnn K. Smith
         Daisey Dailey Tennie 
16‐02849‐
         Cherniawski
16‐02858‐Tony I. Breedlove
         Nathan Shane Sandstedt and 
16‐02977‐
         Jennifer Kay Sandstedt
         Marcus E. Burnett and Amy C. 
16‐02995‐
         Burnett
16‐03125‐Mark Jay Telder
16‐03213‐Dana Marcelle Lound
         Michael G Piggott and Johannah 
16‐03239‐
         C Piggott
         Michael D. O'Byrne and 
16‐03361‐
         Margaret A. O'Byrne
         Brett Brian Burkholder and Heidi 
16‐03393‐
         Marie Burkholder
16‐03399‐Susan K Lacy
         Scott McCauley Confer and 
16‐03444‐
         Andrea Smedley Confer
16‐03494‐David Luu and Cindy Le
         Adam M Howard and Jennifer 
16‐03795‐
         Day‐Howard
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16‐03908‐Kelli J. Jahns
         David E. VanLue and Stacey M. 
16‐04370‐
         VanLue
16‐04719‐Kristine A. Davis
16‐04764‐Sharif Munye Ahmed
16‐04897‐Thomas G. Clark and Lora L. Clark
         Ronald Alan Boda and Karen 
16‐04925‐
         Marie Boda
16‐04983‐William N. McCormick, III
16‐05041‐Larry W. Huey and Karen S. Huey
         Danny Scott Hoffmeyer and 
16‐05072‐
         Amanda Lorraine Hoffmeyer
         Bradley Carland Morgan and 
16‐05113‐
         Kristi Lynn Morgan
         Leroy R Beagle and Bonnie L. 
16‐05219‐
         Beagle
16‐05267‐Valarie J. Aris and William P. Aris
         Denny L. Ferguson and Karen K. 
16‐05377‐
         Ferguson
16‐05399‐Kathleen Demaray
         Rodney Lynn Whittington‐
16‐05439‐
         Saddler and Penelope Melebeck
16‐05469‐Jennifer Ann Moffit
16‐05712‐Malinda Lynn Tucker
         Jaime P. Blomeling and Sara L. 
16‐05780‐
         Blomeling‐DeRoo
16‐05956‐Allison A. Cox
16‐06112‐April Jo Hough
16‐06210‐Susan L. Jordan
         Pamela J. Saites and William N. 
16‐06306‐
         Saites
         Daniel Vanderkooi and Vicki 
16‐06308‐
         Vanderkooi
         Johnny Ray Richardson and 
16‐06314‐
         Shirline Richardson
16‐90122‐Christinea A Dubord
17‐00033‐Steven Paul Haggerty
17‐00045‐Douglas A. Klann
17‐00159‐Roberto Salvador
         Bradley D. Robinson and Jami 
17‐00160‐
         Robinson
17‐00217‐David A. Richards
17‐00233‐Brian J Timmer
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17‐00236‐Eileen Renee Elenbaas
17‐00747‐Valerie Y. Howard
         Daniel S. Dalman and Victoria M. 
17‐00808‐
         Dalman
17‐00837‐Kimberly Pope
17‐01159‐Jacklyn Ann Sterling
         Brandon Columbus Riley and 
17‐01296‐
         Sonia Noemi Riley
17‐01445‐Phillip Thomas Lawson
17‐01508‐Yvonne Frances McCumber
17‐01549‐Kevin W. Davis
17‐01593‐Darcy A Hager
17‐01834‐Martha Lynne Conway
17‐01988‐Suzanne M Ritz
         Tryce Lain Coleman and Oddie 
17‐01994‐
         Bell‐Kent Coleman
17‐02027‐Timothy M. Neumann
17‐02098‐Crysta A Heart
         Duane Alan Christle and Susan 
17‐02170‐
         Barbara Christle
17‐02184‐William Thurman Stroud
         Kimberly Kelly Wilcox and Mark 
17‐02251‐
         Gordon Wilcox
17‐02774‐Jonelle Audette Johnston
17‐02855‐Cory Michael O'Brien
         Edward J. Kramer and Debra L. 
17‐02860‐
         Kramer
         Mark Hazen Kelley, III and Kelly 
17‐02933‐
         Lynn Eaton‐Kelley
17‐03322‐Tearri M. Rivers
17‐03425‐Jeannette D. Abney
17‐03590‐Cynthia Marguerite Rosenbrook
         Walter G Harrell, Jr. and Sharon 
17‐03690‐
         A Moody‐Harrell
17‐03706‐Robert Ottke and Amy J. Ottke
17‐04084‐Cheryl Ayers
17‐04112‐Catherine Taylor
         Mark Robinson Chandler and 
17‐04141‐
         Bridget Maurine Chandler
17‐04170‐James R Steckley
17‐04226‐Sharon Joyce Tielking
17‐04532‐Ryan D. Kannegieter
17‐04539‐Kara Renee Gamboa
         John Edward Boring and Suzanne 
17‐04625‐
         Marie Boring
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17‐04783‐Florence Lawson
17‐04994‐Jerrelyn Dale Stafford
         Robert Andrew Staffen and April 
17‐05102‐
         Samantha Crawley
         David Allen Levine, Jr and Christy 
17‐05222‐
         Ann Levine
         Robert L Wells and Leenette K 
17‐05232‐
         Wells
17‐05361‐Angela K. Knoth
17‐05397‐Edwin Arthur Burland
17‐05440‐Glenn Joseph Wolyniak
         Lance M. Corey and Karen S. 
17‐05473‐
         Corey
17‐05716‐Debra Sue Tuffelmire
17‐05776‐William Patrick and Alicia Patrick
         William S. Kunkel, Jr and Julie L. 
17‐05781‐
         Kunkel
         Sheldon M. Treat and Brandy M. 
17‐05802‐
         Treat
18‐00093‐Meaghann Marie Smith
18‐00139‐Stacey L. McCarthy
18‐00157‐Bobbie J Short
18‐00174‐Sylvia Lynn Long
         Austin F Williams and Carrie L 
18‐00179‐
         Williams
         Robert L Winters and Linda S 
18‐00253‐
         Winters
18‐00503‐Banhlang Meuangkhot
         William Douglas Burnsed and 
18‐00626‐
         Adrienne Elizabeth Burnsed
18‐00896‐Mark A Chapman
18‐00941‐Clyde Nathaniel Bogart
18‐00957‐Michelle Lorraine Hindbaugh
